                  Case 2:21-cr-00056-GGG-DPC Document 56 Filed 06/14/22 Page 1 of 4
AO 245E        (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
               Sheet 1



                                       UNITED STATES DISTRICT COURT
                                                  EASTERN             District of        LOUISIANA
          UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                V.                                              (For Organizational Defendants)

                                                                                CASE NUMBER:                       21 -56
      GREAT LAKES DREDGE & DOCK
      COMPANY, LLC                                                              Vivienne Schiffer
                                                                                Defendant Organization’s Attorney
THE DEFENDANT ORGANIZATION:
    pleaded guilty to count(s) Count 1 of the Bill of Information on June 15, 2021.
   plea ded nolo contendere to count(s)
  which was accepted by the court.
    was found guilty on count(s)
  after a plea of not guilty.
The organizational defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                    Offense Ended              Count
33 U.S.C.§§1321(b)                   Violation of the Clean Water Act-Negligent
(3), 1319(c)(1)(A)                                                                                                                      1
                                     Discharge



        The defendant organization is sentenced as provided in pages 2 through                       4           of this judgment.

    The defendant organization has been found not guilty on count(s)
    Count(s)                                                     is         are dismissed on the motion of the United States.

         It is ordered that the defendant organization must notify the United States attorney for this district wit h in 3 0 d ays o f an y
change of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed b y
this judgment are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney
of material changes in economic circumstances.

Defendant Organization’s XX-XXXXXXX
Federal Employer I.D. No.:                                                      June 14, 2022
                                                                                Date of Imposition of Judgment

Defendant Organization’s Principal Business Address:

:                                                                               Signature of Judge
9811 Katy Freeway, Suite 1200

Houston, Texas 77024                                                            Greg Gerard Guidry, United State District Court Judge
                                                                                Name and Title of Judge


                                                                                June 17, 2022
                                                                                Date
Defendant Organization’s Mailing Address:

Same
                    Case 2:21-cr-00056-GGG-DPC Document 56 Filed 06/14/22 Page 2 of 4


AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3 — Criminal Monetary Penalties

                                                                                                            Judgment — Page    2       of        4
DEFENDANT ORGANIZATION: GREAT LAKES DREDGE & DOCK COMPANY, LLC
CASE NUMBER:      21-56

                                              CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.
                   Assessment                                               Fine                                 Restitution
TOTALS
                   $ 125.00                                              $ 1,000,000.00

    The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.
    The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
    below.
    If the defendant organization makes a partial payment, each payee shall receive an appro ximately p ro po rtio ned p aymen t, u n less
    specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
    nonfederal victims must be paid before the United States is paid.

Name of Payee                                 Total Loss*                               Restitution Ordered                    Priority or Percentage




TOTALS                               $                                             $

     Restitution amount ordered pursuant to plea agreement $
     The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
     The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:
           the interest requirement is waived for                    fine                 restitution.
            h
           the interest requirement for the                   fine                     restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on o r
after September 13, 1994, but before April 23, 1996.
                    Case 2:21-cr-00056-GGG-DPC Document 56 Filed 06/14/22 Page 3 of 4


AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3A — Criminal Monetary Penalties

                                                                                        Judgment — Page   3      of     4
DEFENDANT ORGANIZATION: GREAT LAKES DREDGE & DOCK COMPANY, LLC
CASE NUMBER: 21-56

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
  A special assessment of $125.00 is due immediately. The fine of $1,000,000.00 is due immediately from the date of
  judgment. The payments shall be made to the Clerk, United States District Court, and are to be forwarded to the following
  address:

  U.S. Clerk's Office
  Attn: Financial Section
  500 Poydras Street, Room C-151
  New Orleans, LA 70130
                     Case 2:21-cr-00056-GGG-DPC Document 56 Filed 06/14/22 Page 4 of 4


AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 — Schedule of Payments

                                                                                                      Judgment — Page     4        of        4
DEFENDANT ORGANIZATION:                             GREAT LAKES DREDGE & DOCK COMPANY, LLC
CASE NUMBER:  21-56

                                                        SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $ 1,000,000.00                          due immediately, balance due
                not later than                                       , or
                in accordance with              C or            D below; or
B          Payment to begin immediately (may be combined with                       C or      D below); or
C          Payment in                   (e.g., equal, weekly, monthly, quarterly) installments of $                 over a period of
                           (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
D          Special instructions regarding the payment of criminal monetary penalties:
           Special Assessment is due immediately.




All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties

imposed.

     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.




     The defendant organization shall pay the cost of prosecution.

     The defendant organization shall pay the following court cost(s):

     The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
